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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,
                                                            File No: 1:07-cr-06
v.
                                                            HON. ROBERT HOLMES BELL
ALFRED LEE WILLIAMS,

                Defendant.
                                        /


                              ORDER AND JUDGMENT
                     APPROVING REPORT AND RECOMMENDATION

        The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

        THEREFORE, IT IS ORDERED that:

        1.      The Report and Recommendation of the Magistrate Judge (docket # 248) is approved

and adopted as the opinion of the Court.

        2.      Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Count 1 of the Second Superseding Indictment.

        3.      The written plea agreement is hereby continued under advisement pending

sentencing.




Date:         November 6, 2007               /s/ Robert Holmes Bell
                                             ROBERT HOLMES BELL
                                             CHIEF UNITED STATES DISTRICT JUDGE
